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     In the United States District Court for the Eastern District of Pennsylvania

LAW OFFICES OF JOHN G. MALONE, ESQUIRE, P.C                   Jury
BY: JOHN G. MALONE, ESQUIRE                                   Assessment of Damages Required
ID No. 36763
610 Old York Road, Suite 400
Jenkintown, PA 19046
215-722-1222                                                  Attorney for plaintiff(s)
John@johngmalonelaw.com
________________________________________
Plaintiffs


Walter Bynum
1716 South Chadwick Street
Philadelphia pa 19145
                                                               No.
      v.
Defendants

NATIONAL RAILROAD PASSENGER CORPORATION
DBA Amtrak
1 Massachusetts Avenue
NW, Washington, DC 20001


                                             COMPLAINT
                                             Train Accident

Jurisdiction is based upon diversity of citizenship as Plaintiffs are residents of Pennsylvania and
                                 Defendants are residents of .

                                               COUNT I

                                       Walter Bynum v. Defendant

1.       Plaintiff is Walter Bynum , an adult individual, residing at 1716 South Chadwick Street,

         Philadelphia, PA 19145.

2.       Defendant(s) is NATIONAL RAILROAD PASSENGER CORPORATION doing business as

         “AMTRAK” (“Amtrak” herein) a for profit, quasi-public corporation operating many

         U.S. passenger rail routes.
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3.       On or about August 22, 2020,       Walter Bynum was a passenger in a train car of the

         Amtrak, (referred to at times as “train”), when the train derailed near the destination of

         Suburban Station causing passengers in the train car(s), including Walter Bynum, to be

         suddenly and violently jerked and thrown in and about the passenger car(s).

4.       At all relevant times, Amtrak acted through its employees or agents within the scope

         and the course of employment with Amtrak when the incident occurred.

5.       As a result of this incident, Walter Bynum sustained injuries including: injuries to upper

extremities, shoulder and spinal column as well as other injuries which he may suffer or may in

the future suffer to various parts of his body.

6.       Walter Bynum sustained a severe shock to the nervous system, among other injuries that

plaintiff may have suffered to other parts of plaintiff's body, as a result of which Walter Bynum

has suffered and will in the future suffer pain and mental anguish, which has prevented plaintiff

and may in the future prevent her from attending to plaintiff's daily duties and activities; and

Walter Bynum has been obligated to spend sums of money for medicine and medical attention

and may be obligated to expend money for similar purposes in the future.

6.       The accident was caused by the negligence and misconduct of defendant, consisted

of:safe manner;

     •   (a) failing to have the train under proper and adequate control at all times;


     •   (b) failing to maintain the train and/or rails and/or rail system in a proper and safe
         conditions so that sudden, violent forces do not occur to passengers like Walter Bynum.


     •   (c) operating the train at a high, excessive and dangerous rate speed on the rail at the
         place of the incident to Walter Bynum;
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(d) violating defendant's own safety standards controlling train operations applicable to the
regional rail line where the incident occurred;

  •    (f) failing to maintain the train and rails in proper working order; and


  •    (g) failing to use due care, acting without due regard for the rights and safety

and position of the plaintiff at the point aforesaid and being otherwise guilty of negligence.



7. Plaintiff, plaintiff, has suffered and will in the future suffer losses which are not compensated
because of limitations set fourth by Pennsylvania Law, and the plaintiff has and will incur losses
which will exceed amounts, which plaintiff may otherwise be entitled to recover.



WHEREFORE, plaintiff demands judgment against defendants for an amount in excess of

$150,000.00.




                                              Respectfully submitted,



Date: 09222021                                John G. Malone
                                              John G. Malone, Esquire
                                              Attorney for Plaintiff(s)
